IN THE CIRCUIT COURT OF THE NINETEENTH JUDICIAL CIRCUIT

 

LAKE COUNTY, ILLINOIS 3 . = ft
SARINA ERVIN, ) | 7
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vs. ) Case No. 04 D 1943
) Err Corte daira
RAYMOND ERVIN, ) CIRCUIFCLERK.
) _,
Respondent. _)
ORDER

This matter coming on to be heard upon return of the rules to show cause issued against Raymond
Ervin and Gwendolyn Barlow on September 10, 2021 and presentation of a Motion to Quash Subpoena (to
TCF Bank) and Motion to Quash Subpoena (to USAA Bank) filed by Raymond Ervin, counsel for Sarina
Ervin appearing via Zoom on her behalf, Raymond Ervin and Gwendolyn Barlow appearing via zoom with
their attorney, Terrence J. Goggin of Goggin & Associates, the Court hearing testimony from Raymond
Ervin and Gwendolyn Barlow and considering the arguments of counsel and being fully advised;

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IT IS HEREBY ORDERED: oy
1. Terrence J. Goggin is granted leave to file an amended appearance on behalf of Raymond
Ervin and Gwendolyn Barlow.
2. Count III of Sarina’s Petition for Rule to Show Cause filed against Gwendolyn Barlow is
voluntarily withdrawn.
3. Raymond Ervin is found to be in indirect civil contempt of court for failure to fully

comply with the citation to discover assets issued on July 7, 2017 and served upon him
and for failure to comply with the order entered on June 21, 2021. Raymond’s violations
are willful, contumacious, and lacking in compelling cause or justification.

4, Raymond Ervin is sentenced to 30 days of incarceration in the custody of the Lake County
Sheriff. Raymond’s commitment is stayed until November 19, 2021 at 2:30 p.m. at which
time he is ordered to appear in person in Courtroom C-403. His failure to appear shall
result in the issuance of a body attachment order.

5. The purge for Raymond’s contempt finding is that he shall fully comply with the citation
to discover assets issued on July 7, 2017 and served upon him by producing all documents
in his possession and control that have not been previously produced to Sarina’s counsel
either by him, Gwendolyn Barlow, or TCF Bank, with an affidavit of compliance
certifying that he has produced all documents in his possession and control responsive to
the rider to the citation to discover assets served upon him, through the date of production,
tendering a completed answer to the citation to discover assets, excluding paragraph #2
which was properly answered previously, and by payment of $1,200.00 to Sarina’s
counsel. Raymond’s failure to purge the contempt finding entered herein shall result in
him being remanded to the custody of the Lake County Sheriff.

6. Gwendolyn Barlow is found to be in indirect civil contempt of court for her failure to
fully comply with the citation to discover assets issued on April 3%13, 2018 and served
upon her and for failure to comply with the order entered on June 7, 2019. Gwendolyn’s
violations are willful, contumacious, and lacking in compelling cause or justification.
t Gwendolyn Barlow is sentenced to 30 days of incarceration in the custody of the Lake
County Sheriff. Gwendolyn’s commitment is stayed until November 19, 2021 at 2:30
p.m. at which time she is ordered to appear in person in Courtroom C-403. Her failure to
appear shall result in the issuance of a body attachment order.

8. The purge for Gwendolyn’s contempt finding is that she shall fully comply with the
citation to discover assets issued on April 13, 2018 and served upon her by producing all
documents in her possession and control that have not been previously produced to
Sarina’s counsel either by her or TCF Bank, including the documents specifically
requested in the letter from Sarina’s counsel dated July 13, 2021 and producing an
affidavit of compliance certifying that she has tendered all document in her possession
and control that are responsive to the rider to the citation to discover assets served upon
her, through the date of production, and by payment of $937.50 to Sarina’s counsel.
Gwendolyn’s failure to purge the contempt finding entered herein shall result in her being
remanded to the custody of the Lake County Sheriff.

9. This matter is set for purge status on November 19, 2021 at 2:30 p.m. and status regarding
setting the citation examinations of Raymond Ervin and aD Barlow. Sarre ut

counset shal be permitted to-appesr for said status by zoom: U 3, Wk
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10. Raymond Ervin’s Motion to Quash Subpoena (TCF Bank) is voluntarily withdrawn.
Raymond Ervin is granted 14 days within which to file a motion seeking the entry of a
protective order regarding the documents produced by TCF ao 2" any ue motion

  
 

 

filed will be heard on November 19, 2021 at 2:30 pm, M1 C ~ Ky DUMICS GOpIcs
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11. aymond Ervin’s Motion to Quash Subpoena (USAA Bank) is granted on the sole basis | ||/2 2021,
that the subpoena served upon USAA Bank failed to comply with Local Circuit Court
Rule 2-2.10(D). Sarina is permitted to re-issue her subpoena to USAA Bank in
compliance with Rule 2-2.10(D).
ENTE
The Honorable Judge-Patricia Cornell
Prepared by:
BEERMANN LLP

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